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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT) Master File No. 3:07-cv-05944-SC
ANTITRUST LITIGATION,

MDL No. 1917

[PROPOSED] ORDER GRANTING
This Documents Relates To: ADMINISTRATIVE MOTION FOR

ORDER PERMITTING THE
ALL ACTIONS COMPLETION OF LEO MINK’S

DEPOSITION BY JANUARY 30, 2015
AND DEEMING TESTIMONY
OBTAINED THROUGH ANY SUCH
DEPOSITION AS TIMELY

[PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION RE TIMING OF LEO MINK’S DEPOSITION
(Master File No. CV-07-5944-SC)

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The California Attorney General, joined by the Direct Purchaser Plaintiffs, the Indirect
Purchaser Plaintiffs, and the Direct Action Plaintiffs (hereafter “Plaintiffs”), has moved under Civil
Local Rule 7.11 for an order permitting Plaintiffs to complete the deposition of Leo Mink pursuant
to the Hague Convention on the Taking of Evidence in Civil and Commercial Matters (“Hague
Evidence Convention”) by January 30, 2015 and deeming any testimony obtained through any such

examination as timely. This is an unopposed administrative motion.

The Court, having reviewed the administrative motion and supporting papers, and any other
relevant records on file in this action, finds that the administrative motion of the California Attorney

General should be, and hereby is, GRANTED.

NOW, THEREFORE, IT IS HEREBY ORDERED THAT: Plaintiffs may complete the
deposition of Leo Mink pursuant to the Hague Evidence Convention by January 30, 2015 and any

testimony obtained through any such examination shall be deemed timely.

IT IS SO ORDERED.

Dated: , 2014

SAMUEL CONTI
United States District Judge

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